                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


ANTHONY S. KIDD,                                      )
                                                      )
               Plaintiff,                             )
                                                      )
v.                                                    )       Case. No. 22-3123-JWL-JPO
                                                      )
JEREMY BAKER, et al.,                                 )
                                                      )
               Defendants.                            )
                                                      )

                 RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION
                  FOR IDENTIFICATION AND MOTIONS IN LIMINE

       Defendants Jeremy Baker, Tyler Jones, Michael Falck, Jason Vsetecka, and (FNU)

Simmons (“Defendants”) submit, through Assistant Attorney General Matthew L. Shoger, this

response to Plaintiff’s last three motions (Docs. 16, 17, 18). Plaintiff’s Motion for Identification

(Doc. 16) violates this Court’s Memorandum and Order from August 3, 2022 (Doc. 6 at 8):

“Discovery by Plaintiff shall not commence until Plaintiff has received and reviewed any Court-

ordered answer or response to the Complaint.” Plaintiff’s motion is a discovery motion, and this

Court’s previous order clearly stated discovery may not commence until Plaintiff receives

Defendants’ answer, which would occur after the screening process. (Doc. 6 at 7-8.)

       Plaintiff’s other two motions, his Motion in Limine to Exclude Evidence Regarding

Disciplinary History (Doc. 17), and his Motion in Limine to Exclude Evidence Regarding

Convictions (Doc. 18), are inappropriate at this early stage in litigation. To the extent the Court

considers the substance of these motions in limine, Defendants take no position on their substance,

opposing only their appropriateness at this stage of litigation.
          For these reasons, Defendants request that this Court enter an order denying Plaintiff’s

motions in Docs. 16, 17, and 18, and for such other and further relief as this Court deems just and

proper.

                                              Respectfully submitted,

                                              OFFICE OF ATTORNEY GENERAL
                                              DEREK SCHMIDT

                                              /s/ Matthew L. Shoger
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                                              Attorney for KDOC Defendants




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                                CERTIFICATE OF SERVICE

        I hereby certify that on this 1st day of November, 2022, the foregoing document was filed
with the clerk of the court by using the CM/ECF system, which will send notice of electronic filing
to the following:

       Jon D. Graves
       Hutchinson Correctional Facility
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       Hutchinson, KS 67504-1568
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       Attorney for Kansas Department of Corrections, Interested Party

I also certify that a copy of the above was served by means of first-class mail, postage prepaid,
addressed to:

       Anthony S. Kidd, #93399
       EL DORADO Correctional Facility-Central
       PO Box 311
       El Dorado, KS 67042
       Plaintiff, pro se

                                             /s/ Matthew L. Shoger
                                             Matthew L. Shoger
                                             Assistant Attorney General




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